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                           UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF PENNSYLVANIA

IN RE:      John Brady                             Case No.: 22-10314-amc
            Jeanne Brady
                           Debtors                 Chapter: 13

            Fay Servicing, LLC as servicer for     Judge: Ashely M. Chan
            LSF8 Master Participation Trust
                          Movant                   Hearing Date: June 7, 2022 at 11:00 am
            v.

            John Brady
            Jeanne Brady
            Kenneth E. West - Trustee
                         Respondents


               ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY

         UPON consideration of the Application of Fay Servicing, LLC as servicer for LSF8

Master Participation Trust (together with any successor and/or assign, “Movant”) dated May 16,

2022 and with good cause appearing therefore, it is

         ORDERED the automatic stay, heretofore in effect pursuant to 11 U.S.C. § 362(a), is

hereby vacated for cause pursuant to 11 U.S.C. § 362(d)(1) to permit Movant to exercise all

rights available to it under applicable law with respect to 5980 Mark Drive, Bensalem, PA 19020;

and it is further;

         ORDERED that in the event this case is converted to a case under any other chapter of

the U.S. Bankruptcy Code, this Order will remain in full force and effect; and it is further

         ORDERED that the Movant shall promptly report to the Chapter 13 Trustee any surplus

monies realized by any sale of the Property.
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                                     BY THE COURT:



                                     ___________________________________
  Date: September 6, 2022
                                                                    U.S.B.J.
